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Klein v. Drexel Burnham Lambert, Inc., 737 F.Supp. 319 (1990)


                                                                               Alternative dispute resolution in general
                      737 F.Supp. 319                                     The Federal Arbitration Act, while establishing
                United States District Court,                             federal substantive law requiring parties to
                    E.D. Pennsylvania.                                    honor arbitration agreements, does not create
                                                                          independent federal question jurisdiction. 9
              Norma KLEIN, Nancy B. Winig,                                U.S.C.A. § 1 et seq.; 28 U.S.C.A. § 1331.
             Alan Klein, Ann Weisman, Beverly
                                                                          4 Cases that cite this headnote
          Schottenstein and Randee Schottenstein
                             v.
       DREXEL BURNHAM LAMBERT, INC., Robert                        [3]    Federal Courts
       J. Becker, R. Michael Laub and Michael Klein.                          Alternative dispute resolution in general
                                                                          Federal character of underlying arbitration
                     Civ. A. No. 89–3816.                                 claims is not by itself sufficient to establish
                               |                                          federal jurisdiction under judicial review
                        April 18, 1990.                                   provision of the Federal Arbitration Act. 9
                                                                          U.S.C.A. § 4.
Synopsis
Investors asserting securities law and other claims against               3 Cases that cite this headnote
brokerage firm and related individuals in arbitration
proceeding brought action to enjoin them from objecting to
consolidation of investors' claims before arbitration board or,    [4]    Federal Courts
alternatively, requiring them to waive arbitration provision in               Securities regulation
customer agreements. Brokerage firm and related individuals               District court did not have federal question
filed motion to dismiss complaint for lack of subject matter              jurisdiction over request of investors, asserting
jurisdiction and for failure to state claim upon which relief             securities law and other claims against brokerage
could be granted. The District Court, DuBois, J., held that               firm and related individuals, to enjoin them
it had no jurisdiction over investors' request in absence of              from objecting to consolidation of investors'
independent basis for jurisdiction separate from the Federal              claims before arbitration board or, alternatively,
Arbitration Act.                                                          require them to waive arbitration in customer
                                                                          agreements. 9 U.S.C.A. § 4; Securities Exchange
Defendants' motion granted; plaintiffs' motion denied.                    Act of 1934, § 10(b), 15 U.S.C.A. § 78j(b); 18
                                                                          U.S.C.A. § 1961 et seq.

                                                                          9 Cases that cite this headnote
 West Headnotes (4)


 [1]      Federal Courts
              Limited jurisdiction; jurisdiction as               Attorneys and Law Firms
          dependent on constitution or statutes
                                                                   *320 Stuart H. Savett, Barbara A. Podell, Katharine M.
          Generally, federal court may not entertain              Ryan, Kohn, Savett, Klein & Graf, Philadelphia, Pa., for
          complaint unless it has jurisdiction under one          plaintiffs.
          of following three bases: diversity jurisdiction;
          jurisdiction under specific statutory grant; or         Jerome J. Shestack, Christine C. Levin, Schnader, Harrison,
          jurisdiction based on federal question. 28              Segal & Lewis, Philadelphia, Pa., John R. Vaughn, Gary A.
          U.S.C.A. §§ 1331–1333.                                  Paranzino, Cahill Gordon & Reindel, New York City, for
                                                                  defendants.
          18 Cases that cite this headnote


 [2]      Federal Courts


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                                                      TAB 150, PAGE 1
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                                                                    In a letter to the AAA dated November 15, 1988, defendants
              MEMORANDUM AND ORDER                                  Drexel, Becker, and Laub objected to plaintiffs' request for
                                                                    consolidation of their claims in one arbitration proceeding.
DuBOIS, District Judge.                                             Thereafter, counsel for both parties exchanged a series of
                                                                    letters with the AAA concerning consolidation of plaintiffs'
Presently before the Court is plaintiffs' motion for a              claims. In a letter dated January 19, 1988, the AAA
preliminary and permanent injunction to enjoin defendants,          informed the parties that it was rejecting plaintiffs' request
Drexel Burnham Lambert, Inc. (“Drexel”), Robert J. Becker,          for consolidation, stating that “[t]his matter must be severed
and R. Michael Laub 1 , from objecting to consolidation             into separate arbitrations for each Claimant named in the
of plaintiffs' claims before the American Arbitration               Demand,” and directing counsel for plaintiffs to “file separate
Association, or, in the alternative, for an order requiring         claims for each Claimant”. 2 Plaintiffs allege that the AAA,
defendants to waive the arbitration provision in plaintiffs'        subsequent to its letter of January 19, 1988, agreed to
Customer Agreements with Drexel. Also before the Court is           consolidate plaintiffs' claims in one arbitration proceeding
defendants' motion to dismiss plaintiffs' complaint for lack of
                                                                    if no party to the arbitration objected to consolidation. See
subject matter jurisdiction and for failure to state a claim upon
                                                                    Complaint ¶ 21.
which relief can be granted. The Court heard oral argument
on the motions on September 20, 1989. For the reasons set
forth below, the Court will grant defendants' motion to dismiss
plaintiffs' complaint for lack of subject matter jurisdiction and                                  II
will deny plaintiffs' motion for injunctive and other relief.
                                                                    A threshold issue which the Court must address is
                                                                    whether the Court has subject matter jurisdiction over
                                                                    plaintiffs' Complaint. Plaintiffs argue that the Court
                                I                                   has jurisdiction by virtue of the federal character of
                                                                    plaintiffs' underlying arbitration claims. Defendants argue
The facts of the case, as they appear in the complaint, may
                                                                    that plaintiffs' underlying arbitration claims are not before the
be summarized as follows: plaintiffs are six individuals who
                                                                    Court and plaintiffs' Complaint does not establish a basis of
had brokerage accounts at Drexel. The individual defendants,
                                                                    federal jurisdiction. 3
Laub, Becker, and Klein, handled the plaintiffs' accounts as
registered representatives and employees of Drexel. Plaintiffs
                                                                     [1] It is a “fundamental precept” that federal courts are
allege that defendants knowingly caused excessive trading
                                                                    “courts of limited jurisdiction.” See, e.g. Owen Equipment
to occur in plaintiffs' accounts and invested in “highly risky
                                                                    and Erection Co. v. Kroger, 437 U.S. 365, 374, 98 S.Ct. 2396,
and speculative investments” without plaintiffs' consent. As
                                                                    2403, 57 L.Ed.2d 274 (1978). Generally, a federal court may
a result of defendants' conduct, plaintiffs allege individual
                                                                    not entertain a complaint unless it has jurisdiction under one
losses ranging from approximately $70,000 to approximately
                                                                    of the following three bases: (1) diversity jurisdiction under
$3,000,000. The losses reflect the total of plaintiffs' trading
                                                                    28 U.S.C. § 1332; (2) jurisdiction under a specific statutory
losses, margin interest, and commissions paid.
                                                                    grant, such as admiralty matters under 28 U.S.C. § 1333; or
                                                                    (3) jurisdiction based on a “federal question” under 28 U.S.C.
Each plaintiff opened a separate trading account with Drexel
                                                                    § 1331.
and each plaintiff signed a separate Customer's Agreement
with Drexel agreeing to submit all disputes to arbitration.
On October 14, 1988, plaintiffs filed a timely claim with           Here, plaintiffs do not have diversity of citizenship 4
the American Arbitration Association (“AAA”) requesting             and plaintiffs' claims are not subsumed under a specific
 *321 a consolidation of plaintiffs' claims in one arbitration      statutory grant of jurisdiction. 5 Thus, plaintiffs' basis for
proceeding. In the AAA submission, plaintiffs asserted claims       federal jurisdiction, if it exists, must be “federal question”
for violations of SEC Rule 10b–5 and 15 U.S.C. § 78j(b),            jurisdiction under § 1331. To establish “federal question”
for a violation of RICO, 18 U.S.C. § 1961 et seq., for fraud        jurisdiction, an action must “arise under” *322 federal law
and intentional misrepresentation, and for breach of fiduciary      and present a “substantial question” of federal law. 6
duty.



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[2]   Notwithstanding the fact that plaintiffs' cause of action     of federal question jurisdiction. There, as here, petitioners
“arises under” the Federal Arbitration Act (the “FAA”) ,      7     argued that federal jurisdiction *323 lies where the action
the FAA does not confer federal question jurisdiction. The          underlying the arbitration involves rights created by federal
Supreme Court describes the FAA as “something of an                 law. Id. at 960. The court rejected petitioners' arguments,
anomaly in the field of federal-court jurisdiction.” Moses H.       after carefully examining the over-all structure and legislative
Cone Memorial Hospital v. Mecury Construction Corp., 460            history of the FAA, concluding that an independent basis of
U.S. 1, 26 n. 32, 103 S.Ct. 927, 942 n. 32, 74 L.Ed.2d 765          federal jurisdiction over the arbitration dispute was required.
(1983). Although the FAA establishes federal substantive law        Id. at 960–963 11 .
requiring parties to honor arbitration agreements, the FAA
does not create independent federal question jurisdiction. See     Although plaintiffs in this case concede that the decision
Southland Corp. v. Keating, 465 U.S. 1, 15 n. 9, 104 S.Ct.         in Valenzuela Bock is directly contrary to their position,
852, 861 n. 9, 79 L.Ed.2d 1 (1984).    8                           plaintiffs argue that Valenzuela Bock is not in accord with
                                                                   the Supreme Court's decision in Moses Cone. In making that
 [3] [4] Here, plaintiffs argue that § 4 of the FAA, under argument, plaintiffs rely on the following passage from Moses
                                                                   Cone: “Section 4 provides for an order compelling arbitration
which plaintiffs seek relief 9 , provides for federal jurisdiction
                                                                   only when the federal district court would have jurisdiction
where the Court would have jurisdiction over the underlying
                                                                   over a suit on the underlying dispute;....” Moses Cone, 460
arbitration claims. Defendants argue that § 4 of the FAA does
                                                                   U.S. at 26 n. 32, 103 S.Ct. at 942 n. 32. Plaintiffs equate
not confer federal jurisdiction and that federal jurisdiction
                                                                   “underlying dispute” with the underlying arbitration claims
exists only when the Court has jurisdiction over the arbitration
                                                                   and argue that Moses Cone supports their position that § 4 of
dispute before it. 10                                              the FAA confers jurisdiction in this case. Defendants argue
                                                                   that the reference in Moses Cone to “underlying dispute”
The decision in Drexel Burnham Lambert, Inc. v. Valenzuela         refers to the arbitration dispute on the issue of consolidation
Bock, 696 F.Supp. 957 (S.D.N.Y.1988) is directly on point.
                                                                   before the Court. 12 Furthermore, defendants argue that the
In Valenzuela Bock, the district court specifically rejected the
                                                                   references in Moses Cone to § 4 of the FAA must be read in
same argument raised by plaintiffs that federal jurisdiction
                                                                   their entirety as follows:
may be established under § 4 of the FAA based on the
federal character of the underlying arbitration claims. The
Court rejects plaintiffs' argument and adopts the reasoning in        “The Arbitration Act is something of an anomaly in the
Valenzuela Bock as to the meaning of § 4 of the FAA.                  field of federal-court jurisdiction. It creates a body of
                                                                      federal substantive law establishing and regulating the duty
The facts of Valenzuela Bock closely parallel the facts of our        to honor an agreement to arbitrate, yet it does not create
case. In Valenzuela Bock, seven separate petitioners filed a          any independent federal question jurisdiction under 28
request for a consolidated arbitration alleging violations of the     U.S.C. § 1331 (1976 ed. Supp. V) or otherwise. Section 4
federal securities law and RICO. The AAA originally agreed            provides for an order compelling arbitration only when the
to consolidate petitioners' arbitration claims and defendant,         federal district court would have jurisdiction over a suit
Drexel, filed an action in the New York State Court seeking           on the underlying dispute; hence there must be diversity
severance of the consolidated arbitrations under § 4 of the           of citizenship or some other independent basis for federal
FAA. Petitioners attempted to remove the state court action           jurisdiction before the order can issue (citations omitted).
to federal court on the basis of federal question jurisdiction,       Section 3 likewise limits the federal courts to the extent
since, as here, diversity jurisdiction was lacking. Id at 959.        that a federal court cannot stay a suit pending before
                                                                      it unless there is such a suit in existence. Nevertheless,
In Valenzuela Bock, the district court remanded petitioners'          although enforcement of the Act is left in large part to
action to state court on the ground that the federal court            the state courts, it nevertheless represents federal policy
lacked subject matter jurisdiction. First, the court rejected         to be vindicated by the federal courts where otherwise
the proposition that there was federal question jurisdiction          appropriate.” Moses Cone, supra, 460 U.S. at 26 n. 32, 103
for a claim arising under the FAA, citing Moses Cone                  S.Ct. at 942 n. 32. (emphasis added).
and Southland. Id. at 959–60. The court then addressed               *324 Based on the foregoing, the Court agrees with the
the question whether petitioners had an independent basis           defendants' reading of Moses Cone. A party with a claim



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                                                                    matter jurisdiction, and denies plaintiffs' motion for a
under § 4 of the FAA must have diversity of citizenship
or an independent basis of jurisdiction (separate from the          preliminary and permanent injunction. 14
FAA) to assert federal jurisdiction. Although Moses Cone is
admittedly vague, the Court does not read Moses Cone as             An appropriate order follows.
implying that one Section of the FAA—i.e. Section 4—is
jurisdiction-granting.
                                                                                               ORDER
Finally, to extend federal jurisdiction based on only plaintiffs'
underlying federal claims runs contrary to the well established     AND NOW, to wit, this 18th day of April, 1990, upon
rule that, under § 1331, federal question jurisdiction must         consideration of the Motion of the plaintiffs, Norma Klein,
be established on the face of a “well-pleaded complaint.”           Nancy B. Winig, Alan Klein, Ann Weisman, Beverly
Starin v. New York, 115 U.S. 248, 6 S.Ct. 28, 29 L.Ed. 388          Schottenstein and Randee Schottenstein, for a Preliminary
(1885); King County v. Seattle School District, 263 U.S. 361,       and Permanent Injunction or, in the alternative, for an Order
363, 44 S.Ct. 127, 127, 68 L.Ed. 339 (1923); and Gully v.           requiring defendants, Drexel Burnham Lambert, Inc., Robert
First National Bank, 299 U.S. 109, 112, 57 S.Ct. 96, 97,            J. Becker, R. Michael Laub and Michael Klein, to waive
81 L.Ed. 70 (1936). In Franchise Tax Board v. Construction          the Arbitration provision in plaintiffs' customer account
Vacation Trust, 463 U.S. 1, 27–28, 103 S.Ct. 2841, 2855–            agreements with Drexel Burnham Lambert, Inc., and the
56, 77 L.Ed.2d 420 (1983), the Supreme Court formulates the         Motion of the defendants, Drexel Burnham Lambert, Inc.,
well-pleaded complaint rule as follows: “Congress has given         Robert *325 J. Becker, R. Michael Laub and Michael Klein,
the lower federal courts jurisdiction to hear only those cases in   to Dismiss Plaintiffs' Complaint for lack of subject matter
which a well-pleaded complaint establishes either that federal      jurisdiction and for failure to state a claim upon which
law creates the cause of action or that the plaintiff's right       relief can be granted, and the Responses and supplemental
to relief necessarily depends on resolution of a substantial        submissions filed by the parties, after oral argument, IT IS
question of federal law.” See United Jersey Banks v. Parell,        ORDERED that the Motion of defendants, Drexel Burnham
783 F.2d 360, 365 (3d Cir.1986); Stibitz v. General Public          Lambert, Inc., Robert J. Becker, R. Michael Laub and Michael
Utilities Corp., 746 F.2d 993, 995–96 (3d Cir.1984); New            Klein, to Dismiss for lack of subject matter jurisdiction is
Jersey State AFL–CIO v. New Jersey, 747 F.2d 891, 892 (3d           granted.
Cir.1984).
                                                                    IT IS FURTHER ORDERED that the Motion of the Plaintiffs,
Here, plaintiffs' cause of action arises under the FAA, and         Norma Klein, Nancy B. Winig, Alan Klein, Ann Weisman,
the FAA does not create federal jurisdiction. Plaintiffs do not     Beverly Schottenstein and Randee Schottenstein, for a
ask the Court to decide or address underlying federal laws          Preliminary and Permanent Injunction to enjoin defendants,
apart from the FAA. Plaintiffs' action, requesting the Court to     Drexel Burnham Lambert, Inc., Robert J. Becker, R. Michael
impute a contract term to the parties' arbitration agreement,       Laub and Michael Klein, from objecting to consolidation of
does not raise a separate “federal question”. Furthermore, the      plaintiffs' claims before the American Arbitration Association
jurisdictional grant relevant to plaintiffs' underlying claims      or, in the alternative, for an Order requiring defendants to
is not sufficiently broad to provide an independent basis of        waive the Arbitration provision in plaintiffs' customer account
federal jurisdiction. 13                                            agreements with Drexel Burnham Lambert, Inc., is denied.


For all the foregoing reasons, the Court grants defendants'
                                                                    All Citations
motion to dismiss plaintiffs' complaint for lack of subject
                                                                    737 F.Supp. 319


Footnotes
1       According to plaintiffs, Michael Klein, one of the named defendants in the underlying action, is not objecting to
        consolidation of plaintiffs' arbitration claims. See Complaint ¶ 19; see also September 20, 1989 Transcript at 35–36.
2       Letter of Earl N. Helfland of the AAA dated January 19, 1988. (Exhibit “A” attached to Defendants' Motion to Dismiss
        Plaintiffs' Complaint).



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3     In the Complaint, plaintiffs invoke the Court's jurisdiction under 15 U.S.C. § 78aa, the jurisdictional statute applicable
      to violations of the Securities Exchange Act of 1934 (“1934 Act”). See Complaint ¶ 1. In the Complaint, plaintiffs
      also generally assert the Court's jurisdiction based on § 10(b) of the 1934 Act and the RICO statutes, 18 U.S.C. §§
      1961–1964, which, according to plaintiffs' allegations, underlie, in part, plaintiffs' arbitration claims. See Complaint ¶ 2.
      In the Complaint, plaintiffs do not raise the Federal Arbitration Act as a basis of jurisdiction. However, plaintiffs argue
      in a Reply Memorandum in Opposition to Defendants' Motion to Dismiss Plaintiffs' Complaint that § 4 of the Federal
      Arbitration Act confers federal jurisdiction where a Court would have jurisdiction over the underlying arbitration claims.
      See Plaintiffs' Reply Memorandum in Opposition to Defendants' Motion to Dismiss Plaintiffs' Complaint, pps. 2–5. Thus,
      while plaintiffs do not allege the Federal Arbitration Act as a basis of jurisdiction in the Complaint, the Court will treat
      plaintiffs' jurisdictional argument under the Federal Arbitration Act as if alleged in the Complaint.
4     As alleged, there is not complete diversity between plaintiffs and defendants. See Complaint ¶¶ 5–13.
5     There are certain federal jurisdictional statutes which are, arguably, sufficiently broad in their jurisdictional grants to
      provide an independent basis of federal jurisdiction for claims subsumed in an arbitration petition. See, e.g. 28 U.S.C. §
      1333 (admiralty matters); 29 U.S.C. § 185 (labor contracts). Here, the jurisdictional statute relevant to plaintiffs' underlying
      claims is a narrow grant of federal jurisdiction applicable to “violations” of the securities laws, and not “any matters relating”
      to such violations. See 15 U.S.C. § 78aa; Complaint ¶ 1.
6     See 13B, C. Wright, A. Miller, & E. Cooper, Federal Practice and Procedure at §§ 3562–3565 (1984).
7     See FAA at 9 U.S.C. §§ 1–15 (1982). In this case, plaintiffs seek relief under § 4 of the FAA, which provides for the
      issuance of court orders directing arbitration to “proceed in the manner provided for in such agreement.” 9 U.S.C. § 4.
      See, note 9 infra.
8     Consistent with Moses Cone and Southland, the lower courts have uniformly held that the FAA does not, by itself,
      create federal question jurisdiction. See, e.g. General Atomic Co. v. United Nuclear Corp., 655 F.2d 968, 970 (9th
      Cir.1981); Commercial Metals Co. v. Balfour, Guthrie, & Co., 577 F.2d 264 (5th Cir.1978); see also Litton FCS, Inc.
      v. Pennsylvania Turnpike Commission, 376 F.Supp. 579, 585 (E.D.Pa.1974), aff'd, 511 F.2d 1394 (3d Cir.1975);
      Pennsylvania Engineering Corp. v. Islip Resource Recovery Agency, 710 F.Supp. 456 (E.D.N.Y.1989); Higgins v. U.S.
      Postal Service, 655 F.Supp. 739 (D.Me.1987); see generally 13B, C. Wright, A. Miller, & E. Cooper, Federal Practice
      and Procedure at § 3569 (1984).
9     See note 7, supra.
10    Section 4 of the FAA provides, in relevant part: “A party aggrieved by the alleged failure, neglect, or refusal of another
      to arbitrate under a written agreement for arbitration may petition any United States district court which, save for such
      agreement, would have jurisdiction under Title 28, in a civil action or in admiralty of the subject matter of a suit arising
      out of the controversy between the parties, for an order directing that such arbitration proceed in the manner provided
      for in such agreement....” 9 U.S.C. § 4.
11    The court in Valenzuela Bock explained that, although § 4 of the FAA states that a party may petition the “United States
      district court” for relief under § 4, the reference to “United States district court” has never been read as bestowing
      federal jurisdiction. See Valenzuela Bock at 960–961. Other Sections in the FAA—i.e. 9 U.S.C. §§ 7, 9, 10, 11—refer to
      petitions to the “United States court” and none of these Sections has been read as conferring jurisdiction. Id at 960–961
      (citations omitted). If the references to “United States courts” were interpreted as conferring jurisdiction, it would create
      incomprehensible differences in the scope of jurisdiction under the FAA. For instance, federal jurisdiction would exist in
      every case under § 7 of the FAA—which authorizes the “United States court” to compel the attendance of witnesses—
      although, under § 4 of the FAA, federal jurisdiction would only exist if the Court had jurisdiction over the “subject matter
      of a suit arising out of the controversy....” 9 U.S.C. § 4. Furthermore, it would be equally incomprehensible if only § 4 of
      the FAA, based on its unique phrasing, were read as conferring jurisdiction, while the other Sections of the FAA did not
      confer federal jurisdiction. “It would be bizarre if a petition to compel arbitration could be brought in federal court while a
      petition to confirm or vacate the arbitration award in the same underlying dispute could not.” Valenzuela Bock at 963.
12    The use of the conditional verb in Moses Cone (i.e. whether the Court “would have” jurisdiction) may be explained as
      simply tracking the language of § 4 of the FAA. § 4 of the FAA provides, in relevant part, as follows: “A party ... may petition
      [the Court] which, save for such agreement, would have jurisdiction under Title 28,....” (emphasis added). In Valenzuela
      Bock, the court explains that the language of § 4 of the FAA is not intended to confer jurisdiction, but may be read as a
      response to an arcane principle of common law—i.e. at the time the FAA was passed, a claim for specific performance
      of an agreement to arbitrate would not be enforced by the federal courts because such a clause was construed as an
      agreement to oust the federal court of jurisdiction. Thus, § 4 of the FAA may be interpreted as follows: “[A] court which is
      otherwise vested of jurisdiction of the suit [i.e. “would have” jurisdiction “save for” the agreement] would not be divested



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      [of jurisdiction] by the arbitration agreement and may proceed to order arbitration, contrary to prior precedent.” Valenzuela
      Bock at 963.
13    See note 5, supra.
14    In light of the Court's disposition on the jurisdictional issue, the Court need not address the question whether consolidation
      is appropriate in the absence of contractual authority or the parties' consent to consolidate. However, the Court notes
      that, with the exception of one Second Circuit case, which has been distinguished by subsequent decisions in the Second
      Circuit, the overwhelming weight of authority is opposed to court-ordered consolidation. Compare Compania Espanola
      de Petroleos, S.A. v. Nereus Shipping, S.A., 527 F.2d 966 (2d Cir.1975) (“Nereus”) (allowing court-ordered consolidation)
      with In the Matter of the Arbitration between Reefer Express Lines Pty. and Mediteranska Plovidba and Banana Services,
      Inc., 1987 WL 11685 (S.D.N.Y., May 28, 1987) (Lowe J.) (available on Lexis); Sociedad Anonima v. CIA de Petroleos
      de Chile, S.A., 634 F.Supp. 805 (S.D.N.Y.1986); and Ore & Chemical Corp. v. Stinnes Intertoil, Inc., 606 F.Supp. 1510
      (S.D.N.Y.1985). In other Circuits, cases subsequent to Nereus have consistently rejected the argument that a court has
      the power to compel consolidation. See, e.g. Protective Life Insurance Corp. v. Lincoln National Life Insurance Corp.,
      873 F.2d 281 (11th Cir.1989); New England Energy, Inc. v. Keystone Shipping Company, 855 F.2d 1 (1st Cir.1988); Flink
      v. Carlson, 856 F.2d 44, 47 (8th Cir.1988); Del E. Webb Construction v. Richardson Hospital Authority, 823 F.2d 145,
      150 (5th Cir.1987); Weyerhaeuser Co. v. Western Seas Shipping Co., 743 F.2d 635 (9th Cir.1984).


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